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                               UNITED STATES DISTRICT COURT
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                CENTRAL DISTRICT OF CALIFORNIA—SOUTHERN DIVISION
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14   LDR INTERNATIONAL LIMITED, a          )   Case No. íFYíí'2&
15   British Virgin Island corporation;    )    -'([
                                           )
16                Plaintiff,               )
                                           )   ORDERCONTIN8,1* STATUS
           v.                              )   CONFERENCE)520$35,/
17                                         )   72$35,/
18   SARA JACQUELINE KING, an              )
     individual, and KING FAMILY           )
19   LENDING LLC, a California limited     )
     liability company;                    )
20                                         )
                  Defendants.              )
21                                         )
                                           )
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 Case 8:23-cv-00257-DOC-JDE Document 28 Filed 04/07/23 Page 2 of 2 Page ID #:152



 1         For good cause shown, WKH&RXUWKHUHE\*5$176Plaintiff LDR International
 2   Limited’s (“Plaintiff”) Ex Parte Application to FRQWLQXH the April 11, 2023 status
 3   conference WR April 13, 2023 at :30am.
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 6         IT IS SO ORDERED.
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 8    Dated: April 7, 2023                 ______________________________
                                                HON. DAVID O. CARTER
 9                                              UNITED STATES DISTRICT JUDGE
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